      Case 1:03-md-01570-GBD-SN Document 3883 Filed 01/24/18 Page 1 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                      1/24/2018


In re:
                                                                        03-MD-1570 (GBD)(SN)
         TERRORIST ATTACKS ON
         SEPTEMBER 11, 2001                                                     ORDER

-----------------------------------------------------------------X

SARAH NETBURN, United States Magistrate Judge:

         The provisions of this Order shall govern: (1) actions transferred to this Court by the

Judicial Panel on Multidistrict Litigation pursuant to its December 10, 2003 Order; (2) all related

actions against the defendants alleging injuries in connection with the September 11, 2001

attacks; and (3) any actions later filed in, removed to, or transferred to the Court (“Tag-Along

Actions”) in connection with this multidistrict litigation (“MDL”). The Plaintiffs’ Executive

Committee or the Defendants’ Executive Committee shall, respectively, send a copy of this

Order to counsel for any plaintiffs or newly named defendants in any Tag-Along Action newly

filed in or transferred to this Court.

         Consolidation. Any Tag-Along Action will automatically be consolidated with this MDL

without the necessity of future motions or orders. This consolidation, however, does not

constitute a determination that the actions should be consolidated for trial, nor does it have the

effect of making any entity a party to any action in which he, she, or it has not been named,

served, or added in accordance with the Federal Rules of Civil Procedure.

         Notices to Conform and Short Form Complaints. The plaintiffs in all Tag-Along

Actions are directed to review the Court’s May 3, 2017 Order in this MDL, ECF No. 3543,

which describes the procedures by which plaintiffs may conform their pleadings to the

Consolidated Amended Complaint as to the Kingdom of Saudi Arabia and the Saudi High
     Case 1:03-md-01570-GBD-SN Document 3883 Filed 01/24/18 Page 2 of 2



Commission for Relief of Bosnia & Herzegovina, ECF No. 3463. The plaintiffs are also directed

to meet and confer with the Plaintiffs’ Executive Committees to determine whether they should

file a Notice to Conform or Short Form Complaint.

       Previous Orders. Any order entered into, or decision rendered, in this MDL that relates

to all actions shall apply to all Tag-Along Actions without the need for separate motions and

orders, unless counsel in a Tag-Along Action show good cause why the order should not apply to

that Tag-Along Action.

       Discovery. Discovery already taken in the MDL shall be available and usable in all Tag-

Along Actions.

SO ORDERED.




DATED:         January 24, 2018
               New York, New York




                                                2
